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                                           2                              IN THE UNITED STATES DISTRICT COURT

                                           3                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                           4
                                           5   NUANCE COMMUNICATIONS, INC.,                           No. C 08-2912 JSW (MEJ)

                                           6                  Plaintiff(s),                           ORDER REQUESTING FURTHER
                                                                                                      EVIDENCE RE: MOTION FOR COSTS
                                           7     vs.

                                           8   ABBYY SOFTWARE HOUSE, et al.,

                                           9                  Defendant(s).
                                                                                           /
                                          10
For the Northern District of California




                                          11           Pending before the Court is Defendant Abbyy USA Software's motion for award of attorneys'
    United States District Court




                                          12   fees and costs, which has been referred to the undersigned magistrate judge for a report and

                                          13   recommendation. In support of its request for costs, Abbyy submitted a declaration from its counsel.

                                          14   However, the "burden is on the fee applicant to produce satisfactory evidence - in addition to the

                                          15   attorney's own affidavits - that the requested rates are in line with those prevailing in the community

                                          16   for similar services by lawyers of reasonably comparable skill, experience and reputation. Blum v.

                                          17   Stenson, 465 U.S. 886, 895 n.11 (1984); see also Chalmers v. City of Los Angeles, 796 F.2d 1205,

                                          18   1210 (9th Cir. 1986). Further, in determining a reasonable number of hours, the Court must review

                                          19   detailed time records to determine whether the hours claimed by the applicant are adequately

                                          20   documented and whether any of the hours were unnecessary, duplicative or excessive. Chalmers,

                                          21   796 F.2d at 1210. Accordingly, the Court ORDERS Abbyy to file the appropriate time records, as

                                          22   well as evidence, other than its attorney's affidavits, that the requested rates are reasonable. Abbyy

                                          23   shall file its evidence by September 15, 2008. Nuance shall file any objections to the newly-filed

                                          24   evidence only by September 18, 2008.

                                          25           IT IS SO ORDERED.

                                          26   Dated: September 11, 2008
                                                                                                        MARIA-ELENA JAMES
                                          27                                                            United States Magistrate Judge

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